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                           UNITED STATES I)ISTRICT COURT
                              DISTRICT OF NEW JERSEY



   UNITED STATES OF AMERICA                          Hon. Stanley R. Chesler


                                                     Criminal No, 07-143 (SRC)


   MARCKESE STEWART
                                                     ORDER REQUIRING
                                                     ACCOMODATION FOR
                                                     ATTORNEY TELEPHONE
                                                     CONFERENCES




                  This matter having been opened to the Court by Bruce S. Rosen. appointed

  counsel for Markese Stewart, with consent of the United States (Melissa L. Jampol, Asst.

  U.S. Attorney appearing), and the Court finding good cause for the issuance of this

  Order, and it is,

                  ORDERED that South Woods State Prison in Bridgeton. N.J. be required

  to provide inmate Markese Stewart, inmate number 590649/ SBI 000150812C, with

  telephonic access to his attorney. Bruce S. Rosen. no later than 11 am. Wednesday. May

  4, 2011 and at such other times through Wednesday May 11. 2011 as required by Mr.

  Rosen. with two-hour notice to prison officials.

                  SO ORDERED



                                            ON STANLEY R CHFSLER U S D J


  Dated:
